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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Matthew C. Bockmon, Bar # 161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   NHUNG THI VU
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              NO. 2:10-cr-00284-MCE
                                           )
12                     Plaintiff,          )              STIPULATION AND ORDER TO VACATE
                                           )              STATUS CONFERENCE AND SET CHANGE
13         v.                              )              OF PLEA HEARING AND TO EXCLUDE
                                           )              TIME PURSUANT TO THE SPEEDY TRIAL
14                                         )              ACT
     NHUNG THI VU, et al.,                 )
15                                         )              Date: January 24, 2013
                       Defendants.         )              Time: 9:00 a.m.
16   _____________________________________ )              Judge: Morrison C. England, Jr.
17           It is hereby stipulated and agreed to between the United States of America through Todd Leras,
18   Assistant U.S. Attorney, defendant NHUNG THI VU, by and through his counsel, Matthew C. Bockmon,
19   Assistant Federal Defender, defendant HUNG NGOC PHAM, by and through her counsel, Dina Santos,
20   defendant CUONG THOI LONG, by and through his counsel, Mark Reichel, defendant THUY THI TRAN
21   by and through her counsel David Fischer, and, defendant DIEP HOANG VU, by and through his counsel, Erin
22   Radekin, that the status conference hearing date of Friday, December 7, 2012, be vacated and a status
23   conference hearing date be set for Thursday, January 24, 2013, at 9:00 a.m.
24           The reason for this continuance is to allow defense counsel additional time for consultation with their
25   clients. The Court is advised that all parties concur with this request, and have authorized Mr. Bockmon to
26   sign the stipulation on their behalf.
27   ///
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 1           It is further stipulated that the time period from the date of this stipulation, December 5, 2012, through
 2   and including the date of the status conference hearing, January 24, 2013, shall be excluded from computation
 3   of time within which the trial of this matter must be commenced under the Speedy Trial Act, pursuant to 18
 4   U.S.C. §§ 3161(h)(7)(A) and (B)(iv)and Local Code T4 [reasonable time for defense counsel to prepare], and
 5   that the ends of justice to be served by granting the continuance outweigh the best interests of the public and
 6   the defendants in a speedy trial.
 7                                                           Respectfully submitted,
 8   Dated: December 5, 2012                                 DANIEL BRODERICK
                                                             Federal Defender
 9
                                                              /s/ Matthew C. Bockmon
10                                                           MATTHEW C. BOCKMON
                                                             Assistant Federal Defender
11                                                           Attorney for Defendant
                                                             NHUNG THI VU
12
     Dated: December 5, 2012                                 /s/ Matthew C. Bockmon for
13                                                           DINA SANTOS
                                                             Attorney for Defendant
14                                                           HUNG NGOC PHAM
15   Dated: December 5, 2012                                  /s/ Matthew C. Bockmon for
                                                             MARK REICHEL
16                                                           Attorney for Defendant
                                                             CUONG THOI LONG
17
     Dated: December 5, 2012                                  /s/ Matthew C. Bockmon for
18                                                           DAVID FISCHER
                                                             Attorney for Defendant
19                                                           THUY THI TRAN
20   Dated: December 5, 2012                                  /s/ Matthew C. Bockmon for
                                                             ERIN RADEKIN
21                                                           Attorney for Defendant
                                                             DIEP HOANG VU
22
23   Dated: December 5, 2012                                 BENJAMIN B. WAGNER
                                                             United States Attorney
24
                                                              /s/ Matthew C. Bockmon for
25                                                           TODD LERAS
                                                             Assistant United States Attorney
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     Stipulation/Order                                       2
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 1                                                      ORDER
 2           For the reasons set forth in the stipulation of the parties, filed on December 6, 2012, IT IS HEREBY
 3   ORDERED that the status conference currently scheduled for Friday, December 7, 2012, be vacated and that
 4   the case be set for change of plea hearing on Thursday, January 24, 2013, at 9:00 a.m. The Court finds
 5   that the ends of justice to be served by granting a continuance outweigh the best interests of the public and the
 6   defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the
 7   parties’ December 6, 2012, stipulation, the time under the Speedy Trial Act is excluded from the date of this
 8   stipulation, December 5, 2012, through and including January 24, 2013, pursuant to 18 U.S.C. §3161(h)(7)(A)
 9   and (B)(iv) and Local Code T4, due to the need to provide defense counsel with the reasonable time to prepare.
10
      Dated: December 6, 2012
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                                                         ________________________________
12                                                       MORRISON C. ENGLAND, JR.
                                                         UNITED STATES DISTRICT JUDGE
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     Stipulation/Order                                      1
